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                               EXHIBIT 1003


          UNITED STATES PATENT AND TRADEMARK OFFICE
                       ___________________

           BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ___________________

                                  Petitioner

                                      v.

                            SEAKEEPER, INC.,
                              Patent Owner

                           ___________________

                                Case IPR2017-
                    Patent 7,546,782B2 (“the ’782 Patent”)
                            ___________________




               DECLARATION OF GREGORY BUCKNER




                                                             Exhibit 1003, Page 1
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                 DECLARATION OF DR. GREGORY BUCKNER

  Declarant states:

        1.     I am a resident of North Carolina, am above the age of eighteen

  years, and am not subject to any legal disabilities. I make the following

  statements on my personal knowledge.

        2.     I am a professor of mechanical and aerospace engineering at

  North Carolina State University (NC State). At NC State, I teach graduate

  students in the design of electromechanical systems, and undergraduate

  students in engineering dynamics and principles of automatic control. My

  curriculum vitae is provided as Exhibit 1004 and includes a list of

  publications authored by myself in the last ten years.

        3.     In addition to teaching, I also conduct research at NC State.

  My research relates to dynamic systems, electromechanical systems, control

  systems, design optimization and mechatronics. I have previous experience

  in the field of energy storage flywheels.

        4.     I received a PhD in mechanical engineering from the University

  of Texas at Austin, a MS in mechanical engineering from Virginia

  Polytechnic Institute, and a BS in mechanical engineering from Louisiana

  State University.




                                                              Exhibit 1003, Page 2
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        5.      I have been asked by the Petitioner in the above captioned case

  to provide testimony relating to heat transfer devices for cooling bearings

  and other heat generating components in flywheels and other spinning

  devices. I am being paid in connection with this declaration at a rate of

  $250 per hour. I am not employed by Petitioner, and I have no personal or

  financial interest in the outcome of this proceeding.

        6.      During the last four years, I have testified as an expert witness

  in the following trials or inter partes reviews.

             a. Deposition: Cecil v. City of Lexington, NC, May 2, 2016

             b. Declaration and Deposition: Logic Technology Development,

                LLC v. Fontem Holdings 1 B.V., IPR2015-00098, Exhibit

                1002, October 21, 2014.

             c. Declaration: Fontem Holdings 1 B.V. v. VMR Products, LLC,

                IPR2015-00859, Exhibit 1002, March 10, 2015.

             d. Declaration and Report: Wavetamer Gyros, LLC v. Seakeeper,

                Inc., IPR2017-01931, Exhibits 1003, 1005, August 10, 2017.

        7.      In preparation to give testimony in this case, I have reviewed

  Exhibits 1001-10341 of the inter partes review petition.


  Overview of the ’782 Patent




                                                                Exhibit 1003, Page 3
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         8.     The ’782 patent relates generally to flywheel devices and, more

  particularly, to a heat transfer assembly for cooling or dissipating heat from

  the bearings of a flywheel device. Exhibit 1001, Col. 1, ll. 7-10. The

  specification of the ’782 patent teaches a particular application of the heat

  transfer device in the context of a control moment gyroscope (CMG) used

  for roll attenuation in boats, i.e., a boat stabilizer, but explains that

  embodiments are also applicable to cooling in flywheel energy storage

  devices. Exhibit 1001, Col. 5, ll. 29-37.

         9.     The background of the ’782 patent identifies overheating of

  bearings as a problem in flywheel devices such as boat stabilizers and

  energy storage flywheels. Flywheels for CMGs and energy storage devices

  are often contained within a vacuum environment to reduce aerodynamic

  drag on the flywheel. The ’782 patent states conventional air cooling

  methods cannot be used to cool the bearings supporting the flywheel.

  Exhibit 1001, Col. 1, ll. 14-30.

         10.    The ’782 patent discloses a heat transfer assembly designed to

  work in a partial vacuum. Exhibit 1001, Col. 1, ll. 29-31. The heat transfer

  assembly includes two sets of interleaved fins: one that rotates with the

  flywheel and one that is stationary.




                                                                   Exhibit 1003, Page 4
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        11.    The enclosure is preferably maintained at below ambient

  pressure and contains a below ambient-density gas, e.g. helium or hydrogen,

  in order to reduce aerodynamic drag. Exhibit 1001, Col. 6, ll. 25-29. The

  fins of the first and second members are separated by a small gap on the

  order of 1 mm or less. Id. at ll. 62-67. The close spacing allows heat

  transfer by gaseous conduction from the first set of fins to the second set of

  fins. Id.

        12.    The heat transfer assembly of the ’782 patent provides a heat

  transfer path for conducting heat away from the bearings to the heat

  sinks/cooling collar assemblies. Exhibit 1001, Col. 4, ll. 14-23. More

  specifically, heat is transferred by solid conduction from the bearings and

  flywheel shaft to the first set of fins, by gaseous conduction from the first set

  of fins to the second set of fins, and by solid conduction from the second set

  of fins to the heat sinks/cooling collar assemblies outside of the enclosure.

  Id. As long as a temperature differential is maintained between the first and

  second sets of fins, heat will be transferred away from the bearings to the

  outer enclosure.

  Claim Construction (37 C.F.R. § 42.104(b)(3))

        13.    I understand that in inter partes review proceedings, claims are

  given their broadest reasonable interpretation in light of the claims and



                                                                Exhibit 1003, Page 5
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  specification. Consistent with this principle, I have construed several terms

  of the ’782 claims as follows:

        a.     Adjacent - close to or near

        b.     Vane – a fin used for heat transfer or cooling

        c.     Closely spaced – close enough for heat transfer

        d.     Exposed surface - a surface exposed to the gas within the

  enclosure.

  Level of Ordinary Skill

        14.    I understand that in inter partes review proceedings, the issue

  of obviousness is determined with reference to a person having ordinary skill

  in the art (PHOSITA) at the time of the filing of the patent at issue (January

  12, 2006). In my opinion, a person having ordinary skill in the art to which

  the invention pertains would have a bachelor of science degree in

  mechanical engineering with several years of experience in the design of

  flywheel devices, such as control moment gyroscopes and energy storage

  flywheels.

  Heat Transfer Principles That Would Have Been Known To A
  PHOSITA At The Time Of The Filing Of The Patent At Issue
  (January 12, 2006)

        15.    Heat transfer occurs when a temperature differential exists

  within a medium or between media. Due to the Second Law of



                                                                 Exhibit 1003, Page 6
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  Thermodynamics, heat inherently transfers from the warmer media to the

  cooler media. There are three basic modes of heat transfer in a partial

  vacuum: conduction, convection, and radiation. Conduction occurs when a

  temperature differential exists in a material medium, which may be solid,

  liquid, or gas. Heat transfer by conduction is due to the random movement

  of and collisions between molecules in this medium. When two molecules

  collide, energy is transferred from the molecule with higher energy to the

  molecule with lower energy. Convection refers to heat transfer between a

  fluid (liquid or gas) moving relative to a surface, when the two are at

  different temperatures. Convection is comprised of two distinct

  mechanisms: energy transfer due to random molecular motion (conduction),

  and energy transfer associated with the relative bulk motion of the fluid

  (advection). Heat transfer by radiation occurs when the thermal emissions

  of matter are transported across space by electromagnetic waves. Exhibit

  1025, pp. 2-12. Radiative heat transfer between two surfaces is dependent

  on the temperature differential between these surfaces, the radiative

  properties of these surfaces, and the characteristics of the medium between

  these surfaces.

        16.    Thermal conductivity is a material property describing its

  ability to conduct heat. The thermal conductivity of gases is dependent on



                                                              Exhibit 1003, Page 7
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  factors such as temperature and pressure. Exhibit 1025, p. 39. Gases with a

  higher thermal conductivity have a greater capacity to transfer heat. At

  atmospheric pressure (760 Torr) and 25°C, air has a thermal conductivity of

  0.026 W/mÂK. Exhibit 1025, p. 767. Helium and hydrogen are known to

  have higher thermal conductivities than air: at atmospheric pressure and

  25°C, helium has a thermal conductivity of 0.151 W/PÂ., and hydrogen has

  an even greater thermal conductivity of 0.182 W/PÂ.. Exhibit 1025, p. 769.

  For many gases, thermal conductivity is not strongly dependent on pressure,

  remaining relatively constant at low vacuum pressures (0.987-0.033

  atmospheres, or 750-25 Torr). This characteristic relationship is illustrated

  in Exhibit 1021, which plots thermal conductivity vs. vacuum pressure for

  helium and air. Exhibit 1021, p. 084313-6, Figs. 6, 7.

        17.    A heat sink is a device that transfers thermal energy from a

  higher temperature medium to a lower temperature medium. A heat sink

  may employ all modes of heat transfer, conduction, convention, and

  radiation, alone or in combination. The rate at which heat is transferred

  depends upon the temperature gradient and the surface area across which the

  heat is transferred. Heat sinks are commonly provided with cooling fins to

  increase the surface area over which heat is transferred, and thus increase the




                                                              Exhibit 1003, Page 8
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   rate of heat transfer. It is common practice to cool the fins of a heat sink

   with a moving liquid or gas. Exhibit 1025, pp. 95-110.

         18.    Interleaved fin thermal connectors apply these same principles

   to transfer heat between closely spaced surfaces. In interleaved fin thermal

   connectors, cooling fins extend from both surfaces to form an array of

   interleaved fins. The convoluted interface between the interleaved fins

   provides a much larger surface area than the original planar surfaces to

   greatly enhance heat transfer. The interleaved fins may be designed to

   translate linearly relative to one another, or to rotate relative to one another.

   Exhibits 1009-1020 show various interleaved fin thermal connectors. Heat

   transfer by radiation, gaseous conduction and gaseous convection naturally

   occurs in interleaved fin thermal connectors, depending on the gas

   temperature and pressure. Generally, at low temperature differentials, only a

   small amount of heat is transferred by radiation. In comparison to radiation,

   significantly more heat can be transferred by gaseous conduction and

   gaseous convection in an interleaved fin thermal connector.

         19.    The term partial vacuum is used to describe an environment

   containing a gas at below-ambient pressure. There is no universally

   accepted standard for partial vacuum ranges. See, e.g., Exhibit 1035, p. 2

   One publication associates low, medium, and high vacuums with pressure



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   ranges of 750-25 Torr, 25 to 7.5x10-4 Torr, and 7.5x10-4 to 7.5x10-7 Torr,

   respectively. Heat transfer by gaseous conduction is largely unaffected until

   a vacuum pressure of approximately 1 Torr is reached. Heat transfer by

   radiation is largely unaffected by a vacuum since the mechanism of heat

   transfer is by electromagnetic waves.

   Obviousness of Claims 1 – 23 of the ’782 Patent

         20.    In formulating my opinions, I have relied on my experience,

   education, and knowledge in the relevant art. I have also considered the

   viewpoint of a person having ordinary skill in the art as defined above. For

   reasons described in detail below, it is my opinion that the subject matter

   claimed in claims 1 – 23 of the ’782 patent would have been obvious to a

   PHOSITA at the time the patent at issue was filed (January 12, 2006).

   It Would Be Obvious To Modify Sibley (US 2005/0040776) To Include A
   Gaseous medium Between the Fins, as taught by Jäger (DE19909491)
   Or Bimshas (US 3,844,341).

         21. Sibley relates to the design of a flywheel energy storage system.

   Abstract. To reduce aerodynamic drag on the flywheel, Sibley encloses it in

   a partial vacuum environment. Sibley, ¶ [0133]. Another important

   objective in Sibley’s design is to provide cooling for the high heat produced

   in the bearings and motor/generator. Sibley, ¶ [0026]. To remove heat from

   the bearings, Sibley uses interleaved fins: a first set of fins 438 that rotates



                                                                 Exhibit 1003, Page 10
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   with the flywheel and a second set of fins 440 that remains stationary

   relative to the enclosure. Sibley, Fig. 4, [0129-0134; 0142-0144]. Sibley

   notes that heat is transferred between the first set of fins and the second set

   of fins by radiation. Sibley is silent about heat transfer by gaseous

   conduction and convection, even though these modes occur naturally at

   partial vacuums in accordance with the principles of heat transfer and

   thermodynamics. At partial vacuum, some gas is present in the gaps

   between the first set of fins 438 and the second set of fins 440. Because gas

   is present, heat transfer by gaseous conduction and convection inherently

   occurs due to the Second Law of Thermodynamics.

         22. It would be obvious to a PHOSITA designing a system with

   interleaved fins as taught by Sibley to consider the design of other

   interleaved-fin thermal connectors in selecting parameters such as fin

   spacing, gas type, and operating pressure. Jäger and Bimshas are related to

   the design of interleaved fin thermal connectors for transferring heat away

   from heat generating components. Jäger discloses that air or “another gas”

   occupies the space between the interleaved fins. Jäger, Abstract. It is

   commonly known to those skilled in the art that helium is significantly more

   thermally conductive than air, so it would be obvious to a PHOSITA to use

   helium based on common knowledge. Bimshas explicitly discloses that a



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   thermally efficient gas such as helium may be used in the space between

   interleaved fins to improve gaseous conduction. Therefore, it would be

   obvious to use helium in the air gap between the interleaved fins in Sibley to

   improve heat transfer by gaseous conduction and convection. The reason for

   doing so is that radiation can achieve only a limited amount of heat transfer

   due to relatively low temperature differentials and limited surface area of the

   fins, thus radiation alone could be insufficient to provide adequate cooling of

   the bearings. In comparison to radiation, significantly more heat can be

   transferred by gaseous conduction and convection.

         23. Use of a partial vacuum environment is a well-known design

   tradeoff in flywheel systems: reductions in aerodynamic drag at lower gas

   pressures are accompanied by reductions in heat transfer via gaseous

   conduction and convection. If heat transfer is an important design objective,

   a PHOSITA would reduce pressure enough to achieve a significant

   reduction in aerodynamic drag while maintaining sufficient pressure for

   gaseous conduction. Balancing the tradeoff between reducing aerodynamic

   drag and enhancing cooling of the bearing is a routine design optimization

   task. Significant reductions in aerodynamic drag can be achieved at medium

   vacuum pressures, Exhibit 1038, pp. 105-16 for example, documents an 85%

   reduction in skin drag coefficient and a 70% reduction in viscous drag as air



                                                              Exhibit 1003, Page 12
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   pressure is reduced from atmospheric, 760 Torr, to 0.01 Torr. At this

   pressure, heat transfer via gaseous conduction is significant. While further

   reductions in aerodynamic drag could be achieved at even lower pressures,

   this benefit would be offset by significantly reduced heat transfer. For a

   practical flywheel device where heat transfer between interleaved fins is an

   important design objective, the heat transfer will be primarily by gaseous

   conduction because 1) advection diminishes rapidly at pressures lower than

   1 atmosphere (760 Torr); and 2) only a small amount of heat can be

   transferred by radiation due to the limited surface area of the fins and the

   relatively low temperature differential at desired operating temperatures.

         24. Another option a PHOSITA would consider to address this design

   tradeoff is to use a thermally efficient gas such as helium in gap between the

   interleaved fins. This would allow simultaneous increases in heat transfer

   (due to increased thermal conductivity) and reductions in aerodynamic drag

   (due to reduced density). Exhibit 1037, for example, documents a 35%

   reduction in power loss by replacing air with helium. Thus, it is possible to

   reduce aerodynamic drag without further reducing pressure, at the expense

   of reduced conductive heat transfer, by replacing air with helium. This is

   simply a design choice that a PHOSITA would make to address Sibley’s




                                                               Exhibit 1003, Page 13
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   objectives of reducing aerodynamic drag losses and enhancing cooling of the

   bearings and motor.


   It Would Be Obvious To Modify Adams (US 6,973,847) To Include
   Interleaved Cooling Fins As Taught By Sibley (US 2005/0040776), Jäger
   (DE19909491), Or Bimshas (US 3,844,341).

         25.    Adams discloses the basic structure of a gyroscopic roll

   stabilizer for a boat. Adams, Abstract; Col. 6, ll. 9-18; Fig. 2. The

   gyroscopic roll stabilizer in Adams includes a flywheel 16 and bearings 20

   (i.e., heat generating elements) contained within a vacuum enclosure 30.

   Col. 6, ll. 41-49; Figs. 5 & 6. Adams also discloses the need for a cooling

   device to cool the flywheel bearings. Adams, Col. 7, ll. 21-30. Adams,

   however, does not disclose any details of the bearing cooling device.

         26.    Sibley, Jäger, and Bimshas all disclose cooling devices that

   may be used to cool bearings or other heat generating components (e.g.,

   motors) in a flywheel. A PHOSITA would recognize that the cooling

   devices in any of these three patents could be adapted for use in a gyroscopic

   boat stabilizer as described by Adams.

         27.    Sibley discloses a flywheel energy storage system 10 which,

   like Adams, includes a flywheel 412 supported by bearings 346 and

   enclosed within a vacuum enclosure 418. Sibley, ¶ 0011. Sibley also

   teaches a cooling device comprising interleaved fins 438, 440 to cool the

                                                              Exhibit 1003, Page 14
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   flywheel bearings 436. Sibley, ¶ 0142-0144. The interleaved fins are

   separated by a gap. Heat is transferred from the bearings 436 to the first set

   of fins 438 by solid conduction along the flywheel shaft, across the gap from

   the first set of fins 438 to the second set of fins 440, and by solid conduction

   from the second set of fins to the exterior of the enclosure 418. Sibley does

   not mention heat transfer by gaseous conduction though such would

   naturally occur.

         28.    Jäger discloses a cooling device for cooling the bearings

   supporting a rotating shaft, i.e. spinning member. Jäger, Col. 1, ll. 3-4. As

   described by Jäger, bearing friction causes heat buildup in the inner race and

   in the rotating shaft. Col. 4, ll. 4-11. Jäger discloses a cooling device for

   dissipating heat that builds up in the inner race and in the rotating shaft. Id.

   The cooling device comprises two relatively rotating cooling bodies or heat

   sinks 6, 7 with interleaved fins 8 (first cooling body) and 12, 13 (second

   cooling body). Air or “another gas” is present in the space between the

   interleaved fins. The relative movement of the interleaved fins would

   necessarily cause bulk motion of this air or gas. Due to the presence of a

   moving fluid in the space between the interleaved fins, heat transfer by

   gaseous conduction and convection would naturally occur. Jäger does not

   state what “other gases” could be used between the interleaved fins.



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   Because the purpose of the interleaved fins is to transfer heat away from the

   bearings 4, 5, the most logical choices would be gases with thermal

   conductivities significantly higher than air, most notably hydrogen and

   helium.

         29.    Bimshas discloses a rotatable heat transfer device 10 with

   interleaved fins 12, 16 for transferring heat from a heat source to a relatively

   rotating heat sink. Bimshas, Col. 1, ll. 29-31. Bimshas indicates that his

   heat transfer device 10 can be used in inertial guidance systems to transfer

   heat between relatively rotating gimbals. Id. at ll. 22-26. The heat transfer

   device in Bimshas relies on gaseous conduction for heat transfer. Bimshas

   teaches to “further reduce thermal impedance, a substantially thermally

   efficient gas such as helium” could be used within the gaps between

   interleaved fins. Bimshas, Col. 3, ll. 22-24.

         30.    A PHOSITA would recognize that the teachings of Sibley,

   Jäger, and Bimshas could be applied to cool the bearings or motors in

   flywheel devices, such as shown by Adams. Therefore, it would be obvious

   to a PHOSITA to incorporate interleaved cooling fins as described by

   Sibley, Jäger, and Bimshas into the flywheel device of Adams to cool

   Adams’ flywheel bearings. More specifically, it would be obvious to add a

   first set of fins to the rotating shaft 18 in Adams and a second set of



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   stationary fins to transfer heat from the first set of fins to the enclosure 30 in

   Adams. The motivation to modify Adams to include cooling fins is Adams’

   explicit suggestion of the need for a cooling device to cool the flywheel

   bearings. Modifying Adams to include cooling fins, as described by Sibley,

   Jäger, and Bimshas, would require only routine skill and would meet all the

   limitations of claims 1 and 11.

   It Would Be Obvious To Modify Woodard (US 6,959,756) To Include
   Interleaved Fins As Taught By Sibley (US 2005/0040776), Jäger
   (DE19909491), Or Bimshas (US 3,844,341).

         31.    Woodard discloses the basic structure of an energy storage

   flywheel. The energy storage flywheel in Woodard includes a flywheel 610,

   rotating shaft 612, and rolling-element bearings 604, 606 enclosed within a

   vacuum enclosure 602. Woodard further discloses a heat transfer assembly

   200 for dissipating heat from the flywheel bearings 604, 606. The heat

   transfer assembly in Woodard does not include interleaved fins. Rather,

   Woodard disclose two conductive rings connected by flexible conductive

   members. Heat transfer is primarily by solid conduction in the Woodard

   device.

         32.    The patents to Sibley, Jäger, and Bimshas all disclose

   interleaved fin cooling devices that may be used to cool the bearings or

   motor in a flywheel. A PHOSITA would recognize that the cooling devices



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   in any of these three patents could be adapted for uses in a gyroscopic boat

   stabilizer as described by Adams. These patents are discussed in ¶¶ 20-22.

         33.    It would be obvious to a PHOSITA to substitute any of the

   rotating interleaved fin heat transfer devices of Sibley, Jäger, or Bimshas in

   place of the heat transfer assembly 200 of Woodard. A PHOSITA would

   recognize that the heat transfer arrangement assembly of Woodard and the

   heat transfer devices Sibley, Jäger, or Bimshas are interchangeable in

   applications where relative radial and axial movement are not required.

   Thus, the replacement of the heat transfer devices of Sibley, Jäger, or

   Bimshas for the heat transfer assembly in Woodard is a simple substitution

   of one known cooling device for another with predictable results and would

   meet all the limitation of claims 1 and 11.

   The Claim Limitations On Fin Spacing Are Obvious.

         34.    The limitations of claims 3, 4, 14, and 15 relating to the spacing

   of fins would also be either inherent or obvious over Adams in view of

   Sibley, Jäger, or Bimshas. In a cooling device with interleaved fins, the

   cooling fins would necessarily be closely spaced to enable effective heat

   transfer between the exposed surfaces of the interleaved fins, which is the

   purpose of the cooling device. Also, both Jäger and Bimshas disclose fin

   spacing in the range claimed in the ’782 patent. Selecting an effective



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   spacing is a routine design optimization task involving known design

   variables and tradeoffs.

   The Claim Limitations On The Use Of A Below Ambient Density/High
   Thermal Conductivity Gas Are Obvious.
         35.    All of the claims recite that the enclosure contains a below

   ambient pressure gas. Claims 5 and 16 further recite that the enclosure

   contains a below ambient density gas. Helium and hydrogen are known to

   have densities lower than air at the same temperature and pressure. As

   explained in Adams, the use of below ambient density and below ambient

   pressure gas reduces aerodynamic drag on the flywheel. Adams teaches

   specifically that helium is one below ambient density gas suitable for use in

   a flywheel device. Therefore, it would be obvious to use helium gas in the

   enclosure in order to reduce aerodynamic drag as taught by Adams.

         36.    Claims 10 and 21 also recite that the gas contained within the

   enclosure has a higher thermal conductivity than air. With regards to heat

   transfer, the thermal conductivity of helium is approximately 5.9 times that

   of air, so using helium in place of air would obviously result in improved

   heat transfer.

   The Claim Limitations On Use Of A Heat Sink Are Obvious.

         37.    Claims 7 and 18 recite that heat is transferred from the second

   set of fins to a heat sink. Claims 8 and 19 depend respectively from claims 7


                                                              Exhibit 1003, Page 19
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   and 18 and further recite that the heat sink comprises air-cooled fins. As

   used in the claims, the term heat sink applies to any structure to which heat

   is transferred. Sibley, Jäger, and Bimshas all disclose heat sinks. In Sibley,

   the enclosure functions as a heat sink and includes air-cooled fins. The

   purpose of the air-cooled fins is to increase the surface area exposed to the

   air flow and thereby increase the amount of heat that can be dissipated by

   the heat sink. The use of air-cooled fins or liquid-cooled fins on a heat sink

   is ubiquitous in the field and would be an obvious design choice to a

   PHOSITA in the field of heat transfer.

   The Claim Limitations On Fin Geometry Are Obvious.

         38.    Independent claim 11 includes limitations on the geometry of

   the interleaved fins. As discussed above, it would be obvious to a PHOSITA

   to modify Adams or Woodard to include interleaved fins for cooling the

   flywheel bearings. The prior art teaches that the interleaved fins for a heat

   transfer assembly can be in the form of flat, planar discs that extend

   perpendicular to the axis of rotation, or in the form of cylinders that extend

   parallel to the axis of rotation. The patent to Bimshas, for example, teaches

   both fin geometries. Sibley and Jäger both teach flat planar discs for

   interleaved cooling fins. A PHOSITA would recognize that the planar fin

   geometry and cylindrical fin geometry are interchangeable; the choice



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   between the two depending primarily on physical constraints. Therefore, it

   would be obvious to a PHOSITA that the interleaved cooling fins could be

   cylindrical and extend parallel to the rotational axis as recited in claim 11.

   The cylindrical form is one of two known forms that allow relative rotation

   between the fins.

   The Claim Limitations On Heat Transfer Mode Are Obvious.

         39.    Claim 12 recites that the heat transfer between the first and

   second fins is occurs by gaseous conduction and convection. Claims 2 and

   13 recite that the heat transfer between the first and second fins is primarily

   by gaseous conduction. It is apparent that gaseous conduction and

   convection, as well as radiation, are involved in the heat transfer between

   interleaved fins. The mode of heat transfer that dominates in the interstitial

   gap between the interleaved cooling fins depends on the operating

   parameters of the system. Specifically, the dominant mode of heat transfer

   is affected by the rotational speed, temperature, and pressure.

         40.    We used a Taylor-Couette flow model to analyze how heat is

   transferred across a viscous fluid (e.g. dry air) confined in the gap between

   two rotating cylinders. This Taylor-Couette flow model and the results of

   my analyses are described more fully in Exhibit 1005, which is incorporated

   herein by reference. Generally, our analyses showed that at low rotational



                                                                Exhibit 1003, Page 21
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   speeds, the fluid flow is laminar and heat transfer across such gaps is

   dominated by gaseous conduction, with minimal advection (i.e., convection),

   as the radial components of fluid velocity are negligible. However, as the

   rotational speed increases, the fluid flow becomes more unstable. Above

   critical rotor speeds, Taylor vortices form within the fluid, enhancing radial

   flow. In this case, both conductive and advective heat transfer modes occur,

   the ratio strongly dependent on temperature and pressure. Figures 2-6 of

   Exhibit 1005 show graphs of the heat transfer modes as functions of rotor

   speed at different pressures.

         41. Based on our analyses, at pressures in the range of .076 Torr (10-4

   atmospheres) to 76 Torr (10-1 atmospheres), or medium to low vacuums,

   conductive heat transfer will generally be dominant. Figures 11-15 of

   Exhibit 1005 show the relative contributions of radiative, conductive, and

   advective heat transfer modes as functions of rotor speed at different

   pressures. At pressures below 76 Torr and rotational speeds below 10,000

   RPM, which are typical operating conditions of flywheels for boat stabilizers

   as described by Adams (Exhibit 1001), the heat transfer will be primarily by

   gaseous conduction.

   The Claim Limitations Regarding Mean Free Path Are Obvious.




                                                              Exhibit 1003, Page 22
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         42. Claims 9 and 18 further recite that the mean free path of the gas

   within the enclosure is equal to or less than the spacing between the first and

   second fins. The term “mean free path” refers to the average distance that

   gas molecules travel before they collide. The mean free path of the gas in

   the enclosure will depend on the type of gas, and its pressure and

   temperature. However, under typical operating conditions for a flywheel

   device, the mean free path of air will be between 0.000068 mm (at 25 ÛC,

   760 Torr) and 0.065 mm (at 100ÛC, 1 Torr). These distances are both well

   below the upper fin spacing range of 10 mm described in the ’782 patent,

   and well below the spacing described in both Jäger and Bimshas. Also, it is

   generally known that the viscosity of a moving fluid confined in the gap

   between two cylinders is affected by the mean free path. A mean free path

   exceeding the distance between the cylinders would greatly increase

   kinematic viscosity and reduce heat transfer. See Exhibit 1008, p. 23, ll. 3-9

   (explaining that to be insulating, the molecules must generally be able to

   traverse a gap without colliding into one another, which occurs when the

   mean free path of the gas molecules is greater than or equal to the distance

   between surfaces of the gap). Therefore, a person designing an interleaved

   fin cooling device would select parameters such as fin spacing, gas type and




                                                              Exhibit 1003, Page 23
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   operating pressure so that the mean free path of the gas is less than the fin

   spacing.

   Using A Flywheel For A Boat Stabilizer

         43.    The flywheel devices in Sibley, Woodard, and Adams are

   essentially the same, the primary difference being that the Adams flywheel

   is mounted on a gimbal and used as a boat stabilizer. A PHOSITA would

   recognize that the teachings of Sibley and Woodard relating to heat transfer

   are also applicable in other flywheel devices. It would be obvious to a

   PHOSITA to adapt the flywheel in Woodard to be used as a flywheel device

   in a boat stabilizer by mounting it in a gimbal as taught by Adams.

         44.    I hereby acknowledge that any willful false statement made in

   the declaration is punishable under 18 U.S.C. 1001 by fine or imprisonment,

   or both.

         45.    I declare that all statements made in this declaration of my own

   knowledge are true and that all statements made on information and belief

   are believed to be true.




                                GREGORY BUCKNER                DATE




                                                               Exhibit 1003, Page 24
